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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF FLORIDA
                        TALLAHASSEE DIVISION

ANDREW H. WARREN,

      Plaintiff,

      v.                                     Case No. 4:22-cv-302-RH-MAF

RON DESANTIS, individually and in his
official capacity as Governor of the State
of Florida,

     Defendant.
_________________________________/

                       DEFENDANT’S MOTION FOR
                     SECTION 1292(b) CERTIFICATION
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                                INTRODUCTION

      It is “in the public interest” to resolve this case “as quickly as we can.” T. 61

(9/19/2022 hearing). The Governor is committed to bringing this case to trial

expeditiously and will soon submit a proposed schedule for discovery and trial.

      But there remains a way to resolve this case without drawing multiple state

offices into a costly and time-intensive trial: by concluding that Mr. Warren engaged

in government speech that is not protected by the First Amendment. See Garcetti v.

Ceballos, 547 U.S. 410 (2006). Though this Court has rejected that argument on the

ground that Garcetti does not apply to elected officials, other courts have ruled

differently. See, e.g., Parks v. City of Horseshoe Bend, 480 F.3d 837, 840 n.4 (8th

Cir. 2007); Hartman v. Register, No. 1:06-CV-33, 2007 WL 915193, at *6 (S.D.

Ohio Mar. 26, 2007); Hogan v. Twp. of Haddon, No. 04-2036, 2006 WL 3490353,

at *6 (D.N.J. Dec. 1, 2006). And because that question presents a pure issue of law

that would completely resolve this case, the order deciding it should be certified for

interlocutory review under 28 U.S.C. § 1292(b). While the Eleventh Circuit

considers that question, the proceedings in this Court should continue in the ordinary

course.

                                   ARGUMENT
      The Court has denied the Governor’s motion to dismiss Mr. Warren’s First

Amendment claim. But 28 U.S.C. § 1292(b) authorizes a district court to certify an


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order for interlocutory appellate review when an immediate “appeal may avoid

protracted and expensive litigation” and when the order involves “a question which

would be dispositive of the litigation . . . and there is serious doubt as to how it

should be decided.” McFarlin v. Conseco Servs., LLC, 381 F.3d 1251, 1256 (11th

Cir. 2004). Certification under Section 1292(b) is thus proper when (1) the

challenged ruling involves a controlling question of law; (2) there is substantial

ground for difference of opinion on the ruling; and (3) an immediate appeal may

materially advance the ultimate termination of the litigation. 28 U.S.C. § 1292(b).

      Here, this Court’s order denying the Governor’s motion to dismiss Mr.

Warren’s First Amendment claim meets all three of those elements.

 I.   Whether Garcetti applies to statements made by non-legislative elected
      officials speaking in their official capacities is a controlling question of
      law.

      An order involves a “controlling question of law” when it concerns “the

meaning of a statutory or constitutional provision, regulation, or common law

doctrine,” or “an abstract legal issue” that “the court of appeals can decide quickly

and cleanly without having to study the record.” McFarlin, 381 F.3d at 1258

(simplified); see also Mais v. Gulf Coast Collection Bureau, Inc., 944 F. Supp. 2d

1226, 1251–52 (S.D. Fla. 2013), accepting review and reversing on merits, 768 F.3d

1110 (11th Cir. 2014).




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      This Court’s ruling on the Governor’s Garcetti argument meets that standard.

Whether the First Amendment bars the State from disciplining non-legislative

elected officials for their official-capacity speech is a “pure” legal question that turns

on the “meaning of a . . . constitutional provision” and the parameters of First

Amendment “doctrine.” McFarlin, 381 F.3d at 1258. And the outcome of that legal

question is case-dispositive because, if the Governor is correct, Mr. Warren’s joint

statements were unprotected and cannot form the basis for a First Amendment

retaliation action.

      Courts have found First Amendment issues to be controlling questions of law

in similar contexts. See, e.g., In re Trump, 874 F.3d 948, 951 (6th Cir. 2017)

(whether statements made at a campaign rally were protected by the First

Amendment was a controlling question of law); Hines v. Alldredge, No. 1:13-CV-

56, 2014 WL 12649849, at *1 (S.D. Tex. Mar. 27, 2014) (same for whether a party’s

“professional speech [was] entitled to some measure of First Amendment

protection”), accepting review and reversing on merits, 783 F.3d 197, 200 (5th Cir.

2015). This Court should do the same.

 II. There is substantial difference of opinion over whether Garcetti applies
     to elected officials speaking in their official capacities.
      Next, there is “substantial ground for difference of opinion” when this Court

and other courts, and particularly the court of appeals, are not “in ‘complete and

unequivocal’ agreement” on the resolution of the controlling legal question.

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McFarlin, 381 F.3d at 1258 (quoting Burrell v. Bd. of Trs. of Ga. Mil. Coll., 970

F.2d 785, 788–89 (11th Cir. 1992)). This often occurs when “novel and difficult

questions of first impression are presented.” Reese v. BP Expl. (Alaska) Inc., 643

F.3d 681, 688 (9th Cir. 2011) (quoting Couch v. Telescope Inc., 611 F.3d 629, 633

(9th Cir. 2010)).

      As the Governor has explained, the cases Mr. Warren cites in opposition dealt

only with legislative elected officials, 1 and thus never had occasion to consider or

decide whether Garcetti applies to elected prosecutors. See Webster v. Fall, 266 U.S.

507, 511 (1925) (“Questions which merely lurk in the record, neither brought to the

attention of the court nor ruled upon, are not to be considered as having been so

decided as to constitute precedents.”). And that distinction makes all the difference

here because the principle driving those decisions—that “legislators [must] be given

the widest latitude to express their views of policy,” Boquist v. Courtney, 32 F.4th

764, 780 (9th Cir. 2022) (quoting Bond v. Floyd, 385 U.S. 116, 135–36 (1966))—

does not apply to non-legislative officials who are elected not to make the laws but

to execute them on behalf of the State. That explains why other courts have had no



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         See, e.g., Boquist v. Courtney, 32 F.4th 764, 774–75, 778–80 (9th Cir. 2022);
Rangra v. Brown, 566 F.3d 515, 522–26 (5th Cir.), vacated on mootness grounds on
reh’g en banc, 584 F.3d 206 (5th Cir. 2009); Phelan v. Laramie Cnty. Cmty. Coll.
Bd. of Trs., 235 F.3d 1243, 1246–47 (10th Cir. 2000). This Court also raised Velez
v. Levy, 401 F.3d 75 (2d Cir. 2005), at the hearing, which too involved a legislative
official.
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trouble applying Garcetti to non-legislative elected officials. E.g., Parks, 480 F.3d

at 840 n.4 (recognizing that Garcetti would apply to a city treasurer).

      But even if Mr. Warren’s preferred cases could be read to broadly hold that

Garcetti is inapplicable to all elected officials, including executive officials like

State Attorneys, then there is no doubt a “substantial difference of opinion”

presented here. Indeed, that question is one of first impression in this circuit and has

split the judiciary. Some courts have held that Garcetti does not apply to certain

elected officials. Supra note 1.2 Others, however, have recognized that Garcetti

applies to elected officials when speaking pursuant to their official duties. 3 And still

others have acknowledged that whether elected officials fall outside of Garcetti is at

least subject to “substantial disagreement” and is “not clearly established.” See

Werkheiser v. Pocono Twp., 780 F.3d 172, 177–81 (3d Cir. 2015) (declining to

“decide whether Garcetti is applicable to elected officials’ speech or not,” but

granting qualified immunity because the law on this point was not clearly

established).

      Though this Court has agreed with one side of the split, reasonable jurists

could disagree with that decision. After all, Garcetti is not an employment case; it is


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        Velez v. Levy does not fall within this category. It is a pre-Garcetti case, and
to the Governor’s knowledge, no court has held that it remains good law post-
Garcetti.
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        See, e.g., Parks, 480 F.3d at 840 n.4; Register, 2007 WL 915193, at *6;
Hogan, 2006 WL 3490353, at *6.
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a government-speech case. It stands for a straightforward proposition: When a

government official speaks for the State, the First Amendment allows the State to

discipline him for that speech. See Kennedy v. Bremerton Sch. Dist., 142 S. Ct. 2407,

2425 (2022) (characterizing Garcetti as resting on the proposition that the prosecutor

there was disciplined for “government speech”).

      That principle squarely applies to Mr. Warren. Under Florida law, State

Attorneys are not roving elected free agents—they are state employees who speak

and act for the State of Florida as prosecutors. See Austin v. State ex rel. Christian,

310 So. 2d 289, 292 (Fla. 1975) (noting that a state attorney is an “officer of the

State”). And the people of Florida have made it a condition of holding the office to

which Mr. Warren was elected that he not “neglect [his] duty” or be “incompeten[t].”

Fla. Const., art. IV, § 7(a). When Mr. Warren disobeyed that trust, the State—acting

through the Governor—was fully empowered to take corrective action, be it under

the Governor’s suspension authority, see Fla. Const., art. IV, § 7(a), or his

“constitutional responsibility to take care that the laws be faithfully executed,” see

Austin, 310 So. 2d at 292 (holding that the Governor’s take-care power would suffice

to “authorize the assignment of a state attorney by the Governor” even without an

explicit statute to that effect). As the Court held in Garcetti, the First Amendment

does not shield Mr. Warren from these State-sanctioned disciplinary measures,

because Mr. Warren’s statements were made in his capacity as the State Attorney.


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See Austin, 310 So. 2d at 292. The State, in short, does not have First Amendment

protection from itself.

      At the very least, the Court should conclude that there is a “substantial

difference of opinion” over the question because it is exceptionally “importan[t]” to

this case and, more broadly, to state government. See 16 Charles Alan Wright &

Arthur R. Miller, Federal Practice & Procedure, § 3930 (3d. ed.) (the “level of

uncertainty required to find a substantial ground for difference of opinion” is

diminished when the issue is “importan[t]”).

 III. An immediate appeal may materially advance the ultimate termination
      of the litigation.

      Lastly, an immediate appeal could shuttle this case to resolution. See

McFarlin, 381 F.3d at 1259 (the “materially advance[s]” prong is met when the

appellate court’s “resolution of a controlling legal question would avoid a trial or

otherwise substantially shorten the litigation”). If Mr. Warren’s statements qualify

as unprotected government speech, his First Amendment claim fails. An immediate

appeal could thus obviate the need for a costly expedited trial that would drain the

resources of two state offices and distract them from performing their important

work. Contentious discovery disputes also loom—for example, Mr. Warren has

already announced that he will seek to depose the Governor. Finally, interlocutory

review may eliminate the risk of dueling injunctions from this Court and a stay panel



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of the Eleventh Circuit “yo-yoing” the leadership of the Thirteenth Judicial Circuit’s

State Attorney’s Office after final judgment. See T. 17 (9/19/2022 hearing).

      Nor would an interlocutory appeal interfere with this Court’s proceedings. An

application for interlocutory appeal “shall not stay proceedings in the district court

unless the district judge or the Court of Appeals or a judge thereof shall so order.”

28 U.S.C. § 1292(b). The Governor does not request a stay of discovery or trial

pending review. And if this Court granted leave to appeal, the Governor would

expeditiously pursue his appeal by doing the following:

      • Petitioning the Eleventh Circuit for review within a day of this Court’s

         order;

      • Requesting an expedited briefing schedule: seven days for the opening

         brief; seven days for the answer brief; four days for the reply brief;

      • Requesting that the appeal either be decided on the papers or set for the

         next available oral argument; and

      • Seeking an expedited decision.

      Under those circumstances, the Eleventh Circuit could likely resolve this

significant, case-dispositive issue before this case is tried. Indeed, the Eleventh

Circuit has recently shown a willingness to act with haste on time-sensitive matters

of public importance. See Trump v. United States, No. 22-13005, 2022 WL 4366684




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(11th Cir. Sept. 21, 2022) (granting motion for stay pending appeal filed on Sept.

16).

        Given the need for expedition, the Governor also respectfully requests that the

Court accelerate the deadline for Mr. Warren to respond to this motion to no later

than next Monday, October 3.

                                   CONCLUSION

        The Court should certify its order denying the Governor’s motion to dismiss

for interlocutory appeal while this case proceeds to trial.




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Dated: September 26, 2022              Respectfully submitted,

                                       ASHLEY MOODY
                                        Attorney General

                                       /s/ Henry C. Whitaker
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                      CERTIFICATE OF CONFERRAL

      Consistent with Local Rule 7.1(B), the Governor raised the issues identified

in this motion with Mr. Warren. He opposes the requested relief.

                                             /s/ Henry C. Whitaker
                                             Solicitor General




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                        CERTIFICATE OF COMPLIANCE

      This motion complies with the requirements of Local Rule 7.1(F) because it

contains 2,007 words.

                                            /s/ Henry C. Whitaker
                                            Solicitor General




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                         CERTIFICATE OF SERVICE

       I hereby certify that on September 26, 2022, a true and correct copy of the

foregoing was filed with the Court’s CM/ECF system, which will provide service to

all parties.

                                             /s/ Henry C. Whitaker
                                             Solicitor General




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